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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                   CASE NO. 19-61085-jwc

 MARQUITA LASHAWN BUTLER,                                 CHAPTER: 13

                Debtor.                                   JUDGE: JEFFERY W. CAVENDER

 PENNYMAC LOAN SERVICES, LLC ,                            CONTESTED MATTER

                Movant,
 v.

 MARQUITA LASHAWN BUTLER, Debtor
 NANCY J. WHALEY, Trustee,

                Respondent(s).


                                     NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an Order Granting Relief from
the Automatic Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1203, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
10:30 A.M., on October 20, 2020.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail
a copy of your response to the undersigned at the address stated below.

         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
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rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.

       Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.



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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 19-61085-jwc

 MARQUITA LASHAWN BUTLER,                               CHAPTER: 13

                Debtor.                                 JUDGE: JEFFERY W. CAVENDER

 PENNYMAC LOAN SERVICES, LLC ,                          CONTESTED MATTER

                Movant,
 v.

 MARQUITA LASHAWN BUTLER, Debtor
 NANCY J. WHALEY, Trustee,

                Respondent(s).


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 5020 Duval Point Way SW, Snellville, Georgia 30039.

      3.       Debtor entered into an agreement to modify the loan affective June 1, 2018.

      4.       There has been a default in mortgage payments which have come due since this

case was filed. As of August 21, 2020, eight (8) post petition payments have been missed.
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       5.          As of August 21, 2020, the unpaid principal balance is $112,695.67, and interest is

due thereon in accordance with the Promissory Note.

       6.          Because of the default and clear inability to make all required payments, Movant is

not adequately protected.

       7.          Because the Loan Documents so provide, Movant is entitled to reasonable

attorney's fees.

       8.          Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

       9.          Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

        WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed with the exercise of its private power of sale and to foreclose under its Loan Documents

and appropriate state statutes, and for an award of reasonable attorney’s fees. Movant also prays

that Fed. R. Bankr. P. 4001(a)(3) be waived. Movant also prays that the Chapter 13 Trustee make

no further payments on account of Movant’s secured claim, that Movant be permitted to contact

the Debtor or Debtor’s Counsel, as appropriate, through its agents, servicers and representatives

for the purpose of engaging in discussions and consideration for possible loss mitigation options,

and for such other and further relief as is just and equitable.



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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  IN RE:                                                Case No. 19-61085-JWC

  MARQUITA LASHAWN BUTLER,                              Chapter 13

                  Debtor.


                                   CERTIFICATE OF SERVICE

   This is to certify that on this day I electronically filed the foregoing Notice of Hearing and
Motion for Relief from the Automatic Stay using the Bankruptcy Court’s Electronic Case Filing

program, which sends a notice of this document and an accompanying link to this document to the

following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case

Filing program:

 Nancy J. Whaley
   I further certify that on this day I caused a copy of this document to be served via United States

First Class Mail, with adequate postage prepaid on the following parties set forth below at the

address shown for each.

 Marquita Lashawn Butler
 5020 Duval Point Way
 Snellville, GA 30039

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
 Dated: September 23, 2020
                                                Bryce Noel, Bar No.: 620796
                                                Attorney for Movant
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